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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

ICEUTICA PTY LTD, et al.          *

                  Plaintiffs      *

            vs.                   * CIVIL ACTION NO. MJG-17-0394

LUPIN LIMITED, et al.             *

                  Defendants      *

*       *        *       *      *       *      *       *              *
             MEMORANDUM AND ORDER RE: SUMMARY JUDGMENT

     The Court has before it Defendants Lupin Limited and Lupin

Pharmaceuticals, Inc.’s Motion for Summary Judgment and Request

for Hearing [ECF No. 44] regarding Plaintiffs iCeutica Pty Ltd.

and Iroko Pharmaceuticals, LLC’s claims of patent infringement

of United States Patent Nos. 9,526,734 and 9,649,318. The Court

has considered the materials and has had the benefit of the

arguments of counsel.



I.   BACKGROUND

     In 2015, Co-Plaintiff Iroko Pharmaceuticals, LLC (“Iroko”)

gained approval from the United States Food and Drug

Administration (“FDA”) for its New Drug Application (“NDA”) for

5 milligram (“mg”) and 10 mg formulations of the drug meloxicam1

which it markets under the VIVLODEX® trademark. The NDA lists

1
 Meloxicam is a nonsteroidal anti-inflammatory drug (“NSAID”)
used to manage osteoarthritis pain. ‘734 Patent at 1:24-48.
 

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United States Patent Nos. 9,526,734 (“the ‘734 patent”) and

9,649,318 (“the ‘318 patent”)(collectively, “the Patents-in-

Suit”) in FDA’s publicly available Orange Book2 as covering

VIVLODEX® by at least one claim in each patent.

     The Patents-in-Suit are owned by the Co-Plaintiff iCeutica

Pty Ltd. (“iCeutica”) which exclusively licenses the patents to

Iroko (Iroko and iCeutica collectively referred to as

“Plaintiffs”).

     On August 4, 2016, Defendants Lupin Limited and Lupin

Pharmaceuticals, Inc. (“Lupin”) filed an Abbreviated New Drug

Application (“ANDA”) seeking FDA approval for a generic version

of VIVLODEX®. Lupin sent the Plaintiffs a Paragraph IV

Certification letter stating that it had filed an ANDA and that

it intended to commercially manufacture, use, import, offer for

sale, or sell its generic version before the expiration of the

‘734 and ‘318 patents.3    The letter asserted that the Patents-in-

Suit are invalid and/or would not be infringed by Lupin’s

product. Lupin contends that it does not infringe on any claims

— literally or through the doctrine of equivalents — and that

Plaintiffs are barred from arguing doctrine of equivalents

2
  NDA applicants are required to list patents covering the NDA’s
drug in the public “Approved Drug Products with Therapeutic
Equivalence Evaluations” database (commonly known as the “Orange
Book”). 21 U.S.C. § 355(b)(1)(G).
3
  Applicants are required to make such assertions if they intend
to market their product before expiration of the NDA’s listed
patents. CFR 314.94(a)(12)(i)(A)(4).
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infringement because of prosecution history estoppel. Defs.’

Mem. in Supp. of Mot. for Summ. J. 1-3, ECF No. 45.

     Plaintiffs contend that Lupin’s product directly infringes

on all claims of the ‘734 and ‘318 patent—either literally or

through the doctrine of equivalents—and that the prosecution

history does not estop it from arguing doctrine of equivalents.

Pls.’ Init. Discl. of Infring. Cont., ECF No. 45-2. In its

Amended Complaint, Plaintiffs also argue that Lupin will

indirectly infringe by inducing doctors to prescribe (and

patients to take) the allegedly infringing product. Pls.’ Am.

Compl. ¶¶ 57-114, ECF No. 42.



     A.    The Invention

     The alleged invention pertains to formulations of meloxicam

(5 mg and 10 mg formulations) that are milled to meet a

specified nanoparticulate size distribution profile.4 ‘734 Patent

2:7-14.   A specified single unit dose allegedly has desirable

pharmacokinetic properties5 and provides effective pain relief to

patients suffering from osteoarthritis while exposing patients

to a “relatively low[er]” amount of meloxicam than other

products on the market. Id.



4
  The drug particles are ground down until the diameter of the
particles reaches the desired nanomolecular size (10^-9 meters).
5
  Pharmacokinetic data describes the concentration of the drug
absorbed in the bloodstream over a period of time.
                                   3
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     The claim limitations at issue for purposes of Lupin’s

motion for summary judgment are limitations on the particle size

of meloxicam. The particle size of powdered drugs is reported as

a distribution of values reflective of the varying size of

particles in a given sample (“particle size distribution”). The

particle size distribution of the alleged invention is defined

by two parameters:

          (1) the median particle size (“D(0.5)”),
          referring to “the particle size that divides
          the population in half such that 50% of the
          population is greater or less than this
          size”; and
          (2) the D(0.9) value, referring to the
          particle   size  below   which 90%   of  the
          population of particles falls.

‘734 patent 13:11-24 (emphasis added).




     Each independent claim in the ‘734 and ‘318 patents is

limited by meloxicam particle size expressed in terms of




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nanometers (“nm”).6 A representative claim7 from each patent is

set forth below, with relevant limitations highlighted:

     Independent Claim 1 of ‘734 patent:

          1. A capsule form of a pharmaceutical
          composition comprising 5 mg of meloxicam
          having a median particle size, on a volume
          basis, between 100 nm and 500 nm and a
          D(0.9) that is between 1200 nm and 3000 nm,
          wherein   a   single  capsule,   upon   oral
          administration to a population of healthy
          adults in the fasted state, provides a mean
          plasma AUC (0-∞) of 7500-20000 h*ng/ml and a
          mean plasma Cmax of 350-950 ng/ml, wherein
          the dissolution rate is such that, when the
          capsule is tested using USP Apparatus 1
          (baskets) set to rotation speed of 100 RPM
          in 500 mL of pH 6.1 phosphate buffer with
          0.1% sodium lauryl sulfate (SLS) at 37°
          C.+0.5° C., at least 80% of the meloxicam
          dissolves in 10 minutes or less, wherein a
          single capsule is effective for treating
          osteoarthritis pain.

‘734 patent 25:33-46 (emphasis added).

     Independent Claim 1 of ‘318 patent:

          1. A capsule form of a pharmaceutical
          composition comprising 5 mg of meloxicam
          having a median particle size, on a volume
          basis, between 100nm and 1000 nm, wherein a
          single dose, upon oral administration to a
          population of healthy adults in the fasted
          state, provides a mean plasma AUC (0-∞) of
          7500-20000 h*ng/ml and a mean plasma Cmax of
          350-950 ng/ml, wherein the D(0.9) of the
          particles of meloxicam is less than 4000 nm

6
    Thereby, every claim in the ‘734 and ‘318 patents is limited by
meloxicam particle size. 
7
    The claimed particle size distribution is the same for every
independent claim in the ‘734 patent. The claimed particle size
distribution is also the same (although different from the ‘734
patent) for every individual claim in the ‘318 patent.
                                    5
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          and greater than 1200 nm, and wherein the
          dissolution rate is such that, when tested
          using USP Apparatus 1 (baskets) set to
          rotation speed of 100 RPM in 500 mL of pH
          6.1 phosphate buffer with 0.1% sodium laurel
          sulfate (SLS) at 37° C.±0.5° C., at least
          80% of the meloxicam dissolves in 10 minutes
          or less.

‘318 patent 25:33-45 (emphasis added).

     The bounds of particle size distribution claimed in the

patents are as follows:

           Patent         Claimed D(0.5)      Claimed D(0.9)
                               Range               Range
        ‘734 Claims         100-500 nm         1200-3000 nm
        ‘318 Claims        100-1000 nm         1200-4000 nm


     The shared specification8 repeatedly states that “[t]he

particles of meloxicam have a median particle size, on a volume

average basis, between 100 nm and 5000 nm. In various cases: the

D(0.9) of the particles of meloxicam is less than 3000 nm.” ‘734

patent 2:32-38.9 The specification also states:

          In some embodiments, the D90 of the particle
          size distribution, as measured on a particle
          volume basis, is selected from the group
          consisting of less than or equal, 4000 nm,
          3000 nm, 2000 nm, 1900 nm, 1800 nm, 1700nm,
          1600nm, 1500nm, 1400nm, 1300nm, 1200 nm,
          1100 nm, or 1000 nm and, in some cases,
          greater than 900 nm.

Id. at 5:60-67, 7:28-42.



8
  The ‘318 Patent was filed as a continuation on the ‘734 patent
and shares an identical specification.
9
  See also ‘734 patent 3:14-18, 4:41-44, 5:19-23.
                                   6
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     Furthermore, the specification provides two examples of

meloxicam formulations with a defined particle size

distribution:

            ‘734 and ‘318          D(0.5)        D(0.9)
            Specification
               Examples
          Attrited Blend A         260 nm       1945 nm
          Attrited Blend B         242 nm       1768 nm

Id. at 20:1-15.


     B.    Lupin’s ANDA Product

     In its ANDA application, Lupin specifies that the generic

products it intends to market will have a D(0.9) of less than

800 nm. See Lupin’s ANDA LMELOX0000554, ECF No. 45-3. In batch

records submitted to the FDA in support of the ANDA application,

the D(0.5) and D(0.9) measured in samples had the following

values:

                 Lupin’s Batch #   D(0.5)      D(0.9)
                 H590610           200 nm      393 nm
                 H590639           204 nm      404 nm
                 H590653           204 nm      419 nm

Id. at LMELOX0000605, LMELOX0026597, LMELOX0026616-21,

LMELOX0026597.

     Lupin also tested one of its test batches (the H590653

batch with a D(0.5) of 204 nm and a D(0.9) of 419)) against a

batch having a D(0.9) of 1048 nm (“the H690053 batch”). Lupin

argued that the pharmacokinetic results were equivalent and

concluded that it would not need to control the D(0.5) value if

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it were able to control the D(0.9) value. Id. at LMELOX0026598-

9.



II.   SUMMARY JUDGMENT STANDARD

      A motion for summary judgment shall be granted if the

pleadings and supporting documents “show[] that there is no

genuine dispute as to any material fact and the movant is

entitled to judgment as a matter of law.”        Fed. R. Civ. P.

56(a).

      The well-established principles pertinent to summary

judgment motions can be distilled to a simple statement:          The

Court may look at the evidence presented in regard to a motion

for summary judgment through the non-movant’s rose-colored

glasses, but must view it realistically.        After so doing, the

essential question is whether a reasonable fact finder could

return a verdict for the non-movant or whether the movant would,

at trial, be entitled to judgment as a matter of law.          See,

e.g., Celotex Corp. v. Catrett, 477 U.S. 317, 322-3 (1986);

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986);

Shealy v. Winston, 929 F.2d 1009, 1012 (4th Cir. 1991).          Thus,

in order to defeat a motion for summary judgment, “the party

opposing the motion must present evidence of specific facts from

which the finder of fact could reasonably find for him or her.”




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Mackey v. Shalala, 43 F. Supp. 2d 559, 564 (D. Md. 1999)

(emphasis added).

     When evaluating a motion for summary judgment, the Court

must bear in mind that the “summary judgment procedure is

properly regarded not as a disfavored procedural shortcut, but

rather as an integral part of the Federal Rules as a whole,

which are designed ‘to secure the just, speedy and inexpensive

determination of every action.’”       Celotex, 477 U.S. at 327

(quoting Rule 1 of the Federal Rules of Civil Procedure).



III. INFRINGEMENT STANDARDS

     While submitting an ANDA constitutes an artificial act of

patent infringement for purposes of moving infringement and

invalidity challenges forward in time, the patentee must still

prove infringement by a preponderance of the evidence. Spectrum

Pharm., Inc. v. Sandoz Inc., 802 F.3d 1326, 1336 (Fed. Cir.

2015); see also Glaxo, Inc v. Novopharm Ltd., 110 F.3d 1562,

1567-9 (Fed. Cir. 1997)(finding that the infringement analysis

focuses on comparing the asserted patent claims against the ANDA

product that is likely to be sold following FDA approval).

     A determination of patent infringement requires a two-step

analysis.   Akzo Nobel Coatings, Inc. v. Dow Chem. Co., 811 F.3d

1334, 1339 (Fed. Cir. 2016).     First, the court construes the




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asserted claims,10 and second, it compares the properly construed

claims to the accused product.         Id.   Step one, claim

construction, is a question of law. Markman v. Westview

Instruments, Inc., 52 F.3d 967, 970-71 (Fed. Cir. 1995)(en

banc), aff’d, 517 U.S. 370 (1996).           Step two, comparison of the

asserted claims to the accused product, requires a determination

that every claim limitation or its equivalent is found in the

accused product.       Warner-Jenkinson Co. v. Hilton Davis Chem.

Co., 520 U.S. 17, 29 (1997).

         Whether there is infringement, either literally or under

the doctrine of equivalents, is a question of fact.             Akzo, 811

F.3d at 1339.       “As such, it is amenable to summary judgment when

no reasonable factfinder could find that the accused product

contains every claim limitation or its equivalent.”             Id.



         A.   Literal infringement

         “To establish literal infringement, every limitation set

forth in a claim must be found in an accused product, exactly.”

Advanced Steel Recovery, LLC v. X-Body Equip., Inc., 808 F.3d

1313, 1319 (Fed. Cir. 2015)(quoting Southwall Techs., Inc. v.

Cardinal IG Co., 54 F.3d 1570, 1575 (Fed. Cir. 1995)).




10
       See the Memorandum and Order Re: Claim Construction issued
herewith.
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     B.      Infringement by the Doctrine of Equivalents

             1.     The Doctrine

     Where literal infringement of a claim element is not found,

infringement under the doctrine of equivalents (“DOE”) may be

found where the “accused product or process contain[s] elements

identical or equivalent to each claimed element of the patented

invention.” Warner–Jenkinson, 520 U.S. at 40.

         “[A]n element in the accused device is equivalent to a

claim limitation if it performs substantially the same function

in substantially the same way to obtain substantially the same

result.” Voda v. Cordis Corp., 536 F.3d 1311, 1326 (Fed. Cir.

2008).    An equivalence determination is normally reserved for a

factfinder.       Sage Products, Inc. v. Devon Indus., Inc., 126 F.3d

1420, 1423 (Fed. Cir. 1997).



             2.     Prosecution History Estoppel

     The doctrine of prosecution history estoppel may bar a

patentee from alleging that subject matter surrendered during

patent prosecution infringes on the claimed invention through

DOE. Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 535

U.S. 722, 739-40 (2002)(“Festo VIII”). Prosecution history

estoppel “hold[s] the inventor to the representations made

during the application process and to the inferences that may

reasonably be drawn.” Id. at 737-8. It can occur in one of two

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ways: “(1) [when an applicant makes] a narrowing amendment to

the claim (‘amendment-based estoppel’); or (2)[when the

applicant surrenders] claim scope through argument to the patent

examiner (‘argument-based estoppel’).” Voda, 536 F.3d at 1326.

Determination of prosecution history estoppel presents a

question of law to be determined by the court, not a jury. Festo

Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 344 F.3d 1359,

1368 (Fed. Cir. 2003)(en banc)(“Festo X”); see also Biagro

Western Sales, Inc v. Grow More, Inc., 423 F.3d 1296, 1302 (Fed.

Cir. 2005)(holding that rebutting the presumption of surrender

of subject matter through prosecution history estoppel may

involve factual determinations, but those factual issues may be

decided by the Court).



                a.   Amendment-Based Estoppel

     If an applicant voluntarily surrenders subject matter

through a narrowing amendment in order to satisfy any

requirement of the Patent Act and is unable to explain the

reason for the amendment, a presumption is raised that bars

equivalents for the added limitations. Festo VIII, 535 U.S. at

740. The patentee “bear[s] the burden of showing that the

amendment does not surrender the equivalent in question.” Id. In

order to overcome the presumption that prosecution history




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estoppel bars a finding of equivalence, the patentee is required

show that:

        1) an alleged equivalent would have been
           unforeseeable at the time of the amendment
           and thus beyond a fair interpretation of
           what was surrendered;

             . . . .

        2) the   rationale  underlying   the  narrowing
           amendment [bore] no more than a tangential
           relation to the equivalent in question; or

             . . . .

        3) [there is] some other reason suggesting that
           the   patentee  could   not  reasonably   be
           expected to have described the insubstantial
           substitute in question.


Festo X, 344 F.3d at 1369-70 (emphasis added).

      The tangential relation exception may be satisfied if the

“reason for the narrowing amendment was peripheral, or not

directly relevant, to the alleged equivalent.” Id. at 1369.

“Although there is no hard-and-fast test for what is and what is

not a tangential relation, it is clear that an amendment made to

avoid prior art that contains the equivalent in question is not

tangential.” Intervet Inc. v. Merial Ltd., 617 F.3d 1282, 1291

(Fed. Cir. 2010)(citing Pioneer Magnetics, Inc. v. Micro Linear

Corp., 330 F.3d 1352, 1357 (Fed. Cir. 2003).




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                   b.   Argument-Based Estoppel

      To invoke argument-based estoppel, “the prosecution history

must evince a clear and unmistakable surrender of subject

matter.” Deering Precision Instruments, L.L.C. v. Vector

Distribution Sys., Inc., 347 F.3d 1314, 1326 (Fed. Cir. 2003).

“The relevant inquiry is whether a competitor would reasonably

believe that the applicant had surrendered the relevant subject

matter.” Conoco, Inc. v. Energy & Envtl. Intern., L.C., 460 F.3d

1349, 1364 (Fed. Cir. 2006)(citations omitted).



IV.   DISCUSSION

      Plaintiffs contend that Lupin infringes on the ‘734 and

‘318 patents through the doctrine of equivalents (for particle

size limitations) and literally (for all other limitations).

Pls.’ Opp’n. to Defs.’ Mot. for Summ. J. 1, ECF No. 59. In its

Motion for Summary Judgment, Lupin contends that its ANDA

products do not literally infringe on Plaintiffs’ patents, that

Plaintiffs are estopped from arguing the doctrine of equivalents

in light of the prosecution history, and that it is entitled to

summary judgment as a matter of law. Defs.’ Mot. for Summ. J.,

ECF No. 44.




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     A.   Lupin’s Products do not Literally Infringe

     Lupin’s ANDA products would not literally infringe on the

‘734 and ‘318 claims because the product’s particle size

distribution would not fall within the claimed ranges. Defs.’

Mem. 1-3, ECF No. 45. The ‘734 patent claims a D(0.5) of 100-500

nm and a D(0.9) of 1200-3000 nm. The ‘318 patent claims a D(0.5)

of 100-1000 nm and a D(0.9) of 1200-4000 nm.

     Lupin does not specify a D(0.5) requirement in its ANDA and

even asserts that “additional control on d(10) and d(50) is not

required once we have control on d(90) values.” Lupin’s ANDA

LMELOX0026598, ECF No. 45-3. Evidence from batch records shows

D(0.5) values of 200 nm, 204 nm, and 204 nm in three separate

batches. Because Lupin used D(0.5) values of roughly 200 nm and

has not specified any other limitations, the Court can presume

that Lupin’s ANDA product will likely fall within the claimed

D(0.5) range of 100-500 nm.

     However, Lupin’s ANDA product needs a D(0.9) of less than

800 nm for FDA approval. Lupin’s ANDA LMELOX0000554, ECF No. 45-

3. Any D(0.9) value below 800 nm will fall outside of the

minimum claimed value of 1200 nm.

     The Plaintiffs concede that Lupin’s product would not

literally infringe the D(0.9) limitation but maintain that every

other claim limitation in the independent claims is literally

met. Pls.’ Init. Discl. Ex. A 1,10, Ex. B 3,10, ECF No. 45-2.

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     Because the D(0.9) of Lupin’s products does not fall within

the claimed range of 1200-3000 nm (or 1200-4000 nm), the Court

holds that a reasonable factfinder could not find that Lupin’s

products will contain every limitation in the ‘734 and ‘318

patent claims.



     B.   Prosecution History Estoppel Bars Plaintiffs from

          Arguing Doctrine of Equivalents

     The Plaintiffs allege that Lupin’s ANDA products will

infringe the D(0.9) limitation by virtue of the doctrine of

equivalents. Id. Plaintiffs contend that a D(0.9) below 800 nm

will perform substantially the same function, in substantially

the same way, to achieve substantially the same result as the

D(0.9) of the claimed amount because of the allegedly broad

distribution between the D(0.5) and the D(0.9). Pls.’ Opp’n. 19,

ECF No. 59.

     Lupin contends that Plaintiffs are barred from arguing the

doctrine of equivalents because of prosecution history estoppel.

Defs.’ Mem. 1, ECF No. 45. Lupin argues that Plaintiffs

surrendered D(0.9) values below 1200 nm during prosecution of

the patent. Id. Without a doctrine of equivalents argument,

Lupin contends that its ANDA product would not infringe on the

patent claims and that they are entitled to judgment as a matter

of law. Id.

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     The Court finds, by clear and convincing evidence, that

Plaintiffs are estopped from arguing that Lupin’s ANDA products

would infringe on the ‘734 and ‘318 patent claims through the

doctrine of equivalents because the applicant surrendered any

particle size distributions with a D(0.9) below 1200 nm during

prosecution through both amendment-based and argument-based

estoppel.



            1.   Prosecution History of ‘734 and ‘318 Patents

                 a.   ‘734 Prosecution History

     The prosecution history shows that the ‘734 patent claimed

a D(0.9) value of “less than 3000 nm” in the original

application, indicating a range of 0-3000 nm.11 ‘734 File History

ICTMELOX00000124, ECF No. 44-5. The ‘734 patent also claimed a

D(0.5) range of 100-5000 nm in the original application. Id.

     The Examiner rejected the claims in a Non-Final Office

Action as obvious (pursuant to 35 U.S.C. § 103) in view of a

published Patent Cooperation Treaty (“PCT”) application, WO

2005/002542 (“Cooper”). Id. at ICTMELOX00003995-4000. The

Examiner argued that Cooper teaches nanoparticulate meloxicam

formulations that have a D(0.5) below 2000 nm and a D(0.9) of

11
  The ‘318 patent was prosecuted separately and at a later time
but underwent substantially the same analysis (through narrowing
amendments and arguments) as the ‘734 patent. Therefore, the
‘318 prosecution history may be referred to interchangeably with
the ‘734 prosecution history.
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2000 nm. Id. Cooper’s meloxicam formulation also teaches oral

dosage forms and desirable pharmacokinetic properties compared

to conventional meloxicam formulations. Id.

     In a Response to the rejection, the applicant amended the

D(0.5) to 100-3000 nm and the D(0.9) to 900-3000 nm. Id. at

ICTMELOX00004099-103.

     In subsequent responses and interviews with the Examiner,

the applicant argued that the claimed D(0.9) value of 900 nm

allowed for a much broader distribution between the claimed

D(0.5) range, compared to the narrow distribution taught by

Cooper. Id. at ICTMELOX00004190, 7. The distribution between

D(0.5) and D(0.9) taught by Cooper is exemplified in the

following chart which appears as Table 2 in Cooper’s

specification:

       Cooper’s Formulations         D(0.5)(nm)      D(0.9)(nm)
      (different stabilizers)
            PLURONIC® F68                110              226
           PLURONIC® F108                108              219
          KOLLIDON® 12 PF                 90              125
          KOLLIDON® 17 PF                 95              135
           Polysorbate 80                227              322
        Sodium Deoxycholate              101              198
               Lecithin                  169              271
               Lysozyme                   89              117


Cooper 43:1-4. The applicant argued that a broader particle size

distribution (than the roughly 100 nm distribution taught by

Cooper’s examples) was required to achieve the other claim



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limitations (such as desirable pharmacokinetic data). ‘734 File

History ICTMELOX00004190, 97. The applicant even argued that:

          As can be seen from [Table 2 in Cooper], the
          D90 is very close to the D50 in all cases,
          and the D90 is below 300 nm. This indicates
          that nearly all of the particles, on a
          volume basis are quite small. The present
          claims, in contrast, require a much larger
          D90, at least 900 nm. The meloxicam in the
          formulations   described   in   the   present
          specification have a D90 that is above 900
          nm (see description of attrited blends on
          pages 27-28). Thus, the size characteristics
          of the meloxicam used by Cooper differs
          substantially from that of the present
          claims and from that of the formulations
          described in the present application.

‘318 File History ICTMELOX00004379, ECF No. 44-6 (emphasis

added).

     The Examiner still upheld the rejection over Cooper in a

second Non-Final Office Action. Id. at ICTMELOX00004165-71.

     Finally, the claims were further amended to a D(0.5) of

100-500 nm and a D(0.9) of 1200-3000 nm. In an Examiner

Interview Summary, the Examiner noted that the amended ranges

would “still adequately describe a broader particle size

distribution, wherein the D(0.9) is distinct from the median

particle size, which was not taught or contemplated by the prior

art teachings of Cooper” and would be “commensurate in scope

with the data provided in the specification.” Id. at

ICTMELOX00004211.



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     The Examiner allowed the claims after the applicant agreed

to the amendments. Id. at ICTMELOX00004202-10. In the Reasons

for Allowance, the Examiner further explained:

          Cooper also exemplifies particles wherein
          the D50 for each particle is close to its
          D90, indicating a narrow particle size
          distribution. However, instant independent
          claims 1 and 13 as amended required a much
          broader particle size distribution, wherein
          the median particle size (D50) is 100-500
          nm, while the D90 is 1200-3000 nm.

Id. at ICTMELOX00004209 (emphasis added). The applicant

concurred with the Examiner’s explanation. Id. at

ICTMELOX00004226.



                b.   ‘318 Prosecution History

     The ‘318 patent underwent a similar prosecution as the ‘734

patent. However, the examiner allowed the claims with a D(0.5)

of 100-1000 nm and a D(0.9) of 1200-4000 nm. ‘318 File History

at ICTMELOX00004447. The upper bounds for the D(0.5) and D(0.9)

are higher than those of the ‘734 patent. The prosecution

history does not reveal a reason for why the upper bounds of the

D(0.5) were allowed to remain at 1000 nm (as opposed to 500 nm

as amended in the ‘734 patent).

     The following chart summarizes the narrowing amendments

made for the ‘734 and ‘318 patents:




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Patent No.                      ‘734                      ‘318

                   D(0.5)(nm)     D(0.9)(nm)   D(0.5)(nm) D(0.9)(nm)

Original           100-5000       0-3000       100-5000     0-3000

1st Amend.         100-3000       900-3000     100-1000     900-4000

Allowed Amend.     100-500        1200-3000    100-1000     1200-4000




             2.   Amendment-Based Estoppel Bars DOE

                  a.   ‘734 Patent

     The Plaintiffs clearly narrowed its D(0.5) and D(0.9)

values through amendments during prosecution. These amendments

were made to overcome a § 103 rejection over Cooper. Therefore,

a presumption is raised that bars a DOE argument for any product

with a D(0.5) greater than 500 nm and a D(0.9) below 1200 nm.

The equivalent in question (Lupin’s ANDA product) would have a

D(0.5) of roughly 200 nm12 and a D(0.9) of less than 800 nm,

falling below the claimed 1200 nm threshold. The Plaintiffs have

the burden of rebutting the presumption and may do so by showing

that the rationale for surrendering values less than 1200 nm is



12
  Lupin argued to the FDA in a response to an Information
Request that it would not be necessary to control the D(0.5)
value if they were able to control the D(0.9) value. Lupin’s
ANDA LMELOX0026597-9, ECF No. 45-3. However, the D(0.5) value
will have to fall somewhere between 0-800 nm (with a D(0.9)below
800 nm), and batch samples indicate D(0.5) values of about 200
nm.
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only tangentially related to the equivalent in question.

Plaintiffs have not done so.

     Plaintiffs argue that the amendments were made to

demonstrate a broader particle size distribution between D(0.5)

and D(0.9) over Cooper’s. Pls.’ Opp’n. 1-2, ECF No. 59 (emphasis

added). It further argues that the distribution is only

tangentially related to Lupin’s D(0.9) of below 800 nm. Id. Even

if viewing the prosecution history in a light most favorable to

the Plaintiffs and accepting its argument that the reason for

the narrowing amendments was to demonstrate a broad particle

size distribution, the Plaintiffs have not rebutted the

presumption barring a DOE argument. Lupin’s D(0.9) value of less

than 800 nm is not merely tangentially related to the reason for

narrowing the amendments. In fact, it is quite relevant.

     The breadth of particle size distribution is defined by two

parameters: the D(0.5) and the D(0.9) values. The Examiner

explained that the D(0.9) value was ultimately amended to a

minimum of 1200 nm for two reasons: (1) to demonstrate a broader

particle size distribution [than Cooper’s] that was (2)

“commensurate in scope with the data provided in the

specification.” Id. at ICTMELOX00004211.

     While the examiner did not issue a formal § 112 rejection

for lack of support in the specification, the Examiner clearly

required the patentee to amend the D(0.9) value from 900 nm to

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1200 nm (and the D(0.5) from 100-1000 nm to 100-500 nm) so that

the claims were “commensurate in scope with the data provided in

the specification.” Id. The Examiner quite generously allowed

the D(0.9) value to remain at 1200 nm while the only two

examples supported by data in the Plaintiffs’ specification had

D(0.9) values of 1945 nm and 1768 nm (compared to D(0.5) values

of 260 nm and 240 nm). ‘734 patent 20:1-15 (emphasis added).

     Moreover, the Examiner required the patentee to amend its

D(0.9) value from 0 nm to 1200 nm (even after amending to 900

nm) in order to distinguish the D(0.9) value from the D(0.5)

value so that the claimed particle size distribution was

sufficiently broad to overcome the narrower distribution taught

by Cooper. Based on the data provided in the specification and

the narrow distribution taught by Cooper, the Examiner concluded

that a particle size distribution is sufficiently broad only if

the D(0.5) is 100-500 nm and the D(0.9) is 1200-3000 nm. This

indicates that any D(0.9) value less than 1200 nm is too close

to the claimed D(0.5) value of 100-500 nm (indicating a particle

size distribution too narrow to overcome Cooper) and too low to

be supported by the data in the specification.

     Plaintiffs argue that if it did surrender any territory, it

was the D(0.5) range of 89-277 nm and the D(0.9) of 119-322 nm

as taught by Cooper. Pls.’ Opp’n. 32, ECF No. 59. This argument

is not supported by the prosecution history. If this were the

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case, the applicant could have claimed a D(0.9) range of 322-

3000 nm. Instead, Plaintiffs attempted to claim a minimum D(0.9)

of 900 nm, which was rejected, and were forced to claim a

minimum D(0.9) of 1200 nm in order to gain allowance. 734 File

History ICTMELOX00004211, ECF No. 44-5.

     Plaintiffs cannot now allege that Lupin’s ANDA product will

also have a sufficiently broad particle size distribution

profile with a D(0.9) value below 800 nm and a D(0.5) of roughly

200 nm. The Plaintiffs surrendered this territory through

narrowing amendments during prosecution. The Examiner expressly

concluded that in order to demonstrate a broad distribution

profile (to overcome Cooper) that was commensurate in scope with

the data provided in the specification, the applicant had to

narrow the D(0.5) to 100-500 nm and the D(0.9) to 1200-3000 nm

through amendments. ‘734 File History ICTMELOX00004211, ECF No.

44-5. The Examiner allowed the claims only under these

conditions.

     During the motions hearing, the Plaintiffs also cited Eli

Lilly and Co. v. Dr. Reddy’s Labs., LTD, et al., No. 1:16-cv-

00308-TWP-MPB, slip op. at *6-7 (S.D. Ind. Dec. 14, 2017) to

support its argument that the tangential relation exception

applies. Mot. for Summ. J. Hr. 77:15-79:10, Dec. 18, 2017.

However, this case is not binding precedent on this Court and

merely provides an example of when the tangential relation

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exception may be appropriate. In Eli Lilly, a claim for a broad

class of pharmaceutical compounds (antifolates) was limited to a

specific salt form of a particular antifolate compound

(pemetrexed disodium) through amendments during prosecution to

overcome a reference that taught the broader class of

antifolates. Id. The alleged equivalent was a different salt

form of pemetrexed (pemetrexed ditromethamine). Id. The Court

held that the amendment was merely tangential to the equivalent

because the amendment was made to limit the invention to the

active pemetrexed ingredient (from a broader class of drugs),

and the specific salt form of pemetrexed was not relevant. Id.

     The present case is distinguishable from Eli Lilly because

the amendments to the ‘734 patent were made to narrow the ranges

for D(0.5) and D(0.9) to specific values in order to demonstrate

a broader particle size distribution over the prior art. The

narrowed D(0.5) and D(0.9) values define the scope of the

amendment. The alleged equivalent directly relates to the

amendments because Lupin’s ANDA products would have a narrower

particle size distribution profile that falls within the

surrendered territory. Any variation of D(0.5) and D(0.9) values

outside of the specific ranges allowed by the Examiner would

contradict the purpose for the amendment. The amendments in the

present case did not limit the claims from a broader genus of

drugs to a specific species as in Eli Lilly.

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     The Court concludes that Plaintiffs have not rebutted the

presumption (through the tangential relation exception) that

Plaintiffs have surrendered D(0.9) values of less than 1200 nm,

and Plaintiffs are thus barred from arguing that Lupin’s

products will infringe through doctrine of equivalents for the

‘734 patent.



                b.   ‘318 Patent

     The ‘318 patent claims were amended from a D(0.5) of 0-5000

nm and a D(0.9) of 0-4000 nm to final allowed values of a D(0.5)

of 100-1000 nm and a D(0.9) of 1200-4000 nm. The ‘318 patent

underwent a substantially similar prosecution history to that of

the ‘734 patent except that the allowed maximum D(0.5) value is

1000 nm (as opposed to 500 nm in the ’734 patent), and the

maximum D(0.9) value is 4000 nm (as opposed to 3000 nm in the

‘734 patent).

     As allowed by the examiner, the ‘318 patent conceivably

permits a much narrower particle size distribution profile (with

a maximum D(0.5) of 1000 nm and a minimum D(0.9) of 1200 nm).13

However, based on the ‘734 prosecution history and lack of

explanation by the applicant in the ‘318 prosecution history, it

13
  Theoretically, the D(0.5) could be as high as 1000 nm with a
D(0.9) as low as 1200 nm, resulting in a 200 nm particle size
distribution between the D(0.5) and D(0.9). The minimum particle
size distribution in the ‘734 patent is 700 nm (with a maximum
D(0.5) of 500 nm and a D(0.9) of 1200 nm).
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is reasonable for the Court to conclude that the Examiner

allowed the maximum D(0.5) value to remain at 1000 nm (instead

of 500 nm as in the ‘734 patent) because the D(0.9) value was

also raised to 4000 nm (from 3000 nm as in the ‘734 patent). It

is reasonable to conclude that the higher D(0.5) values

corresponded to the higher D(0.9) values.14 The Court is entitled

to make such factual determinations regarding prosecution

history estoppel. Festo X, 344 F.3d at 1368; see also Biagro

Western Sales, 423 F.3d at 1302.

     Therefore, the same presumptions of surrendered territory

are raised as in the ‘734 patent, and the same analysis for

rejecting the tangential relation exception applies for the ‘318

patent.



          3.    Argument-Based Estoppel Also Bars DOE

     The prosecution history clearly and convincingly shows that

Plaintiffs surrendered D(0.9) values below 1200 nm through

arguments to the Examiner for the Patents-in-Suit such that a




14
  In light of the prosecution history, the Court is not willing
to conclude that any claimed D(0.5) value can correspond to any
claimed D(0.9) value to produce the necessary particle size
distribution, particularly for the ‘318 patent. The Examiner
expressly rejected claims with narrower particle size
distributions in the ‘734 prosecution history and allowed higher
D(0.5) values in the ‘318 patent when the maximum D(0.9) was
also raised.
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competitor would reasonably believe that the subject matter had

been surrendered.

     For many of the same reasons discussed above, the applicant

repeatedly argued to the Examiner that its invention required a

higher D(0.9) value in order to demonstrate a broader particle

size distribution than Cooper’s. The applicant also repeatedly

insisted that the D(0.9) must be at least 900 nm. Most notably

during prosecution of the ‘318 patent, the applicant argued:

          As can be seen from [Table 2 in Cooper], the
          D90 is very close to the D50 in all cases,
          and the D90 is below 300 nm. This indicates
          that nearly all of the particles, on a
          volume basis are quite small. The present
          claims, in contrast, require a much larger
          D90, at least 900 nm. The meloxicam in the
          formulations   described   in   the   present
          specification have a D90 that is above 900
          nm (see description of attrited blends on
          pages 27-28). Thus, the size characteristics
          of the meloxicam used by Cooper differs
          substantially from that of the present
          claims and from that of the formulations
          described in the present application.

‘318 File History ICTMELOX00004379, ECF No. 44-6. (emphasis

added). When referring to Cooper’s D(0.9) below 300 nm, the

applicant used strong language to argue that its D(0.9)

“require[s] a much larger D90” that is “at least 900 nm.” Id.

(emphasis added). The Examiner relied on these assertions when

allowing the patent, stating (in the ‘734 patent prosecution)

that “claims 1 and 13 as amended require a much broader particle

size distribution [than Cooper], wherein the median particle

                                   28
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size (D50) is 100-500 nm, while the D90 is 1200-3000 nm.” ‘734

File History, ICTMELOX00004209, ECF No. 44-5. The applicant

expressly agreed to the Examiner’s statements in responding to

the Notice of Allowance. Id. at ICTMELOX00004226.

     Furthermore, after the applicant amended the D(0.9) to 900

nm, the examiner issued a 35 U.S.C. § 112 rejection for failure

to comply with a written description requirement. ‘318 File

History ICTMELOX00004397-8, ECF No. 44-6. The rejection stemmed

from the interpretation of the misspelled word, “greater,” in

the following paragraph of the specification:

          In some embodiments, the D90 of the particle
          size distribution, as measured on a particle
          volume basis, is selected from the group
          consisting of less than or equal, 4000 nm,
          3000 nm, 2000 nm, 1900 nm, 1800 nm, 1700nm,
          1600nm, 1500nm, 1400nm, 1300nm, 1200 nm,
          1100 nm, or 1000 nm and, in some cases,
          greter [sic] than 900 nm.

Id. (emphasis added). In response, the applicant argued that

“[t]he first part of the sentence lists a variety of upper

limits for the D90” and “[t]he last part of the sentence

provides a lower limit for the D90, ‘greater than 900 nm.’” Id.

at ICTMELOX00004426. The applicant reiterated that “it is clear

from the context that the paragraph[]... provide[s] a lower

limit for the D90 (greater than 900 nm).” Id. at

ICTMELOX00004428.




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      While the § 112 rejection merely pertained to the

misspelling of the word “greater” and its interpretation, the

applicant made a clear and unmistakable argument that the lower

limit for the D(0.9) is 900 nm. This shows that values below 900

nm were surrendered and never supported in the specification and

further supports the applicant’s previous arguments to the

examiner that a D(0.9) of greater than 900 nm is required to

establish a broad particle size distribution.

     The applicant had every opportunity during prosecution to

better define the breadth of particle size distribution between

D(0.5) and D(0.9). It might have been better to express the

claim in terms of a percentage or specific difference between

D(0.5) and D(0.9) while not specifying the exact D(0.9) values.

Lack of data for support clearly made it difficult to do so.

However, in fact the applicant clearly and unmistakably argued

that D(0.9) values were required to be at least 900 nm (and

ultimately 1200 nm).

     Through its arguments during prosecution, the applicant

clearly and unmistakably surrendered D(0.9) values below 1200 nm

(and below 900 nm) in order to establish a broader particle size

distribution profile consistent with data provided in the

specification. A competitor would reasonably believe that the

claims do not encompass D(0.9) values below 1200 nm because

D(0.9) values below 1200 nm would conceivably be too small to

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generate the broad particle size distribution allegedly required

to produce the claimed pharmacokinetic effects. Therefore, the

Court finds that Plaintiffs are also barred from alleging

infringement through the doctrine of equivalence because of

argument-based estoppel.



     C.     Lupin is Entitled to Summary Judgment

     The Plaintiffs concede that Lupin’s ANDA products would not

literally infringe on either the ‘734 or ‘318 patent claims.

     In order to prove infringement through equivalents, the

Plaintiffs allege that a genuine dispute of material fact exists

regarding the Examiner’s comments and the reason for allowing

the amended claims in the ‘734 and ‘318 patents. Pls.’ Opp’n.

22, ECF No. 59. However, prosecution history estoppel is a

question of law for the Court to decide, including factual

determinations related to rebutting prosecution history

estoppel.    Festo X, 344 F.3d at 1368; see also Biagro Western

Sales, 423 F.3d at 1302.

          Even when viewing the prosecution history in a light most

favorable to the Plaintiffs, the Plaintiffs are, as a matter of

law, barred from alleging infringement through the doctrine of

equivalents because of both amendment-based and argument-based

prosecution history estoppel.




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     Because the Plaintiffs cannot prove literal infringement of

the ‘734 and ‘318 patents and are barred from proving

infringement through the doctrine of equivalents, the Court

finds that there are no remaining genuine issues of material

fact, and Lupin is entitled to judgment as a matter of law.



V.   CONCLUSION

     For the foregoing reasons:

          1.      Defendant Lupin’s Motion for Summary Judgment
                  [ECF No. 44] is GRANTED.

          2.      Judgment shall be entered in favor of Defendants
                  and against Plaintiffs, dismissing all claims of
                  the First Amended Complaint [ECF No. 42]. All
                  counterclaims shall be DISMISSED AS MOOT.

          3.      Judgment shall be entered by separate Order.


     SO ORDERED, on Thursday, February 1, 2018.



                                                   /s/__________
                                             Marvin J. Garbis
                                        United States District Judge




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